                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF MISSOURI
                                WESTERN DIVISION


UNITED STATES OF AMERICA, )
                            )
                Plaintiff,  )
                            )
v.                          )                 Case No. 06-00408-03/04,09,12/13-CR-W-ODS
                            )
ANDRE L. BRICE,             )
JASON D. CROSS,             )
ADRIAN WRIGHT,              )
JERMAINE TALLEY, and        )
JON C. CRAWFORD,            )
                            )
                Defendants. )


                                              ORDER

       On December 8, 2006, a number of defendants were arraigned in this case. On that date, the

Court issued Discovery Orders and set scheduling conferences for January 4, 2007, at 10:00 a.m.

and 10:30 a.m. The Discovery Orders directed the Government to provide defendants with

discovery within ten days from the date of arraignment.

       On January 4, 2007, the parties appeared for the scheduling conferences. The Court was

advised that the Government, in disregard of the Discovery Orders, had failed to provide the

defendants with any discovery to date. Therefore, the parties were not in a position to participate

in any realistic scheduling discussions. While government counsel had apparently communicated

with defense counsel about the efforts being made to organize the discovery and provide it at a later

date, the Court had not been advised that there was any delay in the discovery as ordered. Had the

Court been advised that the defendants had not yet been provided any discovery, the Court would

have reset the scheduling conferences.




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       A third scheduling conference is currently set at 10:00 a.m. on January 5, 2007, for

defendants Andre L. Brice, Jason D. Cross, Adrian Wright, Jermaine Talley and Jon C. Crawford.

Given the fact that no discovery has been provided to any of the defendants in this case, it would not

be an efficient use of the resources of appointed counsel or the marshals to hold a scheduling

conference where the parties are not in a position to engage in realistic scheduling discussions.

       Based on the foregoing, it is

       ORDERED that the Scheduling Conference set for 10:00 a.m. on January 5, 2007, is

continued to a date to be determined.



                                                               /s/ Sarah W. Hays
                                                              SARAH W. HAYS
                                                      UNITED STATES MAGISTRATE JUDGE




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